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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

DORY TURNIPSEED                           *     CIVIL ACTION NO.:
                                          *     2:18-cv-5187
VERSUS                                    *
                                          *     SECTION: “J” (4)
APMT, LLC D/B/A                           *
“TONTI MANAGEMENT”                         *    JUDGE CARL J. BARBIER
                                          *
                                          *     MAGISTRATE JUDGE
                                          *     KAREN WELLS ROBY
                                          *
                                          *     JURY TRIAL REQUESTED
**********************************************************************************

                                     NOTICE OF SUMISSION

       PLEASE TAKE NOTICE that defendant, APMT, LLC D/B/A “TONTI MANAGEMENT,”

will bring its Motion to Dismiss Pursuant to Fed. R. Civ. P. 41(b) for Failure to Prosecute, before the

Hon. District Court Judge Carl J. Barbier in the United States District Courthouse, 500 Poydras Street,

Courtroom C268, New Orleans, Louisiana 70130 on September 7, 2022 at 9:30 a.m.

Date: August 15, 2022                       Respectfully submitted,



                                            /s/ James C. Rather, Jr.
                                            JAMES C. RATHER, JR. (#25839), T.A.
                                            ALKER & RATHER, LLC
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                                            Mandeville, LA 70448
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                                            ATTORNEY FOR DEFENDANT
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                                    CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing has been served via the Court’s CM/ECF system to

all counsel of record, this 15th day of August, 2022.


                                              /s/ James C. Rather, Jr.
                                              JAMES C. RATHER, JR
